                      IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  STATESVILLE DIVISION
                                CRIMINAL NO. 5:04CR64-V

UNITED STATES OF AMERICA            )
                                    )
                                    )
            vs.                     )                         ORDER
                                    )
                                    )
ANDREA MONIQUE SETZER,              )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on the Defendant’s Second Motion for Reconsideration

of the Court’s earlier decision to revoke Defendant’s bond on March 14, 2005.1 (Document #51)

       On March 14, 2005, pursuant to a Plea Agreement with the Government, Defendant

tendered a guilty plea to conspiring to assist a federal prisoner escape from custody, and aiding

and abetting the same.      The undersigned judge accepted Defendant’s plea.           At that time,

Defendant also admitted violating the terms of her pretrial release by failing three (3) drug screens

due to marijuana use. At present, the Defendant is in custody pending sentencing.

       Consistent with her earlier motion, Defendant emphasizes her successful completion of the

30-day substance abuse treatment program at the Mecklenburg County Jail.                In addition,

Defendant alleges that, if released, she can reside with her parents in Morganton, North Carolina,

as opposed to her previous residence. Defendant further states that aftercare substance abuse

treatment is not available to her in the Mecklenburg County Jail but would be accessible to her in

the community near her parents’ home. Given these new facts, Pretrial Services does not oppose

Defendant’s Second Motion For Reconsideration. For the reasons stated herein, Defendant’s

motion is granted.




       1
         At the conclusion of the Plea and Rule 11 and Bond Violation Hearings, the Court
issued an oral order revoking bond.

                                                 1

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       IT IS, THEREFORE, ORDERED that the Defendant’s Second Motion for Reconsideration

is hereby GRANTED.        Defendant shall be released from custody as soon as practicable.

Defendant will be subject to the conditions of bond that she was originally ordered to comply with

in addition to the specific conditions discussed within this Order, namely, to reside with her parents

and participate in some type of community-based substance abuse treatment program.




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                     Signed: May 12, 2005




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Signed: June 3, 2005




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